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     J. SCOTT GERIEN, State Bar No. 184728
 1   JOY L. DURAND, State Bar No. 245413
     DICKENSON, PEATMAN & FOGARTY
 2   1455 First Street, Suite 301
     Napa, California 94559
 3   Telephone: (707) 252-7122
     Facsimile: (707) 255-6876
 4
     Attorneys for Plaintiffs
 5   JACKSON FAMILY WINES, INC.
     and LC TM HOLDING, LLC
 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10
     Jackson Family Wines, Inc. and LC TM                CASE NO.
11   Holding, LLC,
                                                         COMPLAINT
12                   Plaintiffs,
                                                            1. Federal Trademark Infringement
13           vs.                                            2. Federal Unfair Competition and
                                                               False Designation Of Origin
14   E. & J. Gallo Winery,                                  3. California Trademark Dilution
                                                            4. Unfair Competition Under Cal. Bus.
15                   Defendant.                                & Prof. Code §17200
                                                            5. Common Law Trademark
16                                                             Infringement
                                                            6. Common Law Unfair Competition
17                                                          7. Cancellation of Trademarks
18
                                                         DEMAND FOR JURY TRIAL
19

20
             Plaintiffs, Jackson Family Wines, Inc. and LC TM Holding, LLC (collectively,
21
     “Plaintiffs”), for their Complaint against defendant E. & J. Gallo Winery (“Defendant”), allege,
22
     upon personal knowledge with respect to themselves and their acts, and upon information and
23
     belief as to all other matters, as follows:
24
                                            NATURE OF ACTION
25
             1.      This action arises from Defendant’s willful infringement of Plaintiffs’ trademark
26
     rights by using a trademark for its wine that is confusingly similar to Plaintiffs’ well-known LA
27
     CREMA® trademark.             Under these circumstances, consumer confusion is inevitable. This
28
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 1   Complaint asserts causes of action under the federal Lanham Act for infringement of a federally

 2   registered trademark (15 U.S.C. §1114), federal unfair competition and false designation of

 3   origin (15 U.S.C. §1125(a)), California Trademark Dilution (Cal. Bus. & Prof. Code §14247),

 4   California unfair competition (Cal. Bus. & Prof. Code §17200) and common law trademark

 5   infringement and unfair competition, as the result of the willful and unauthorized use by

 6   Defendant of colorable imitations of Plaintiffs’ LA CREMA® trademark, as more fully set forth

 7   hereinafter. This Complaint also asserts a cause of action for cancellation of Defendant’s U.S.

 8   Trademark Registration Nos. 2,881,734; 4,450.260; and 6,086,056. Plaintiffs seek preliminary

 9   and permanent injunctive relief restraining Defendant’s infringement of Plaintiffs’ LA

10   CREMA® trademark, monetary damages, attorneys’ fees, and related relief.

11                                           THE PARTIES

12          2.     Plaintiff, Jackson Family Wines, Inc. (“JFW”), is a corporation organized under

13   the laws of the state of Delaware with its principal place of business at 421 Aviation Boulevard,

14   Santa Rosa, California 95403. JFW is the exclusive licensee of the LA CREMA® trademark.

15          3.     Plaintiff, LC TM Holding, LLC (“LC TM”), is a limited liability company

16   organized under the laws of the state of Delaware with its principal place of business at 421

17   Aviation Boulevard, Santa Rosa, California 95403. LC TM is the owner and licensor of the LA

18   CREMA® trademark.

19          4.     Defendant E. & J. Gallo Winery (“Gallo”) is a corporation organized under the

20   laws of the state of California with its principal place of business at 600 Yosemite Boulevard,

21   Modesto, California 95354. Gallo produces wine products featuring the CASK & CREAM

22   trademark.

23                                  JURISDICTION AND VENUE

24          5.     This Court has subject matter jurisdiction over Plaintiffs’ claims under and

25   pursuant to 15 U.S.C. §1121 and 28 U.S.C. §1338(a), as the claims arise under the federal

26   Lanham Act, 15 U.S.C. §§1116-1127. This Court also has pendent jurisdiction over all related

27   claims herein in accordance with 28 U.S.C. §1338(b).

28          6.     Defendant, either directly or through their agents, transacted business in the State

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 1   of California and within this judicial district, as more specifically set forth below, and expected

 2   or should reasonably have expected their acts to have consequence in the State of California and

 3   within this judicial district.

 4           7.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b), as Defendant is

 5   doing business in this judicial district and therefore may be found in this district, and/or as a

 6   substantial part of the events giving rise to the claims alleged herein occurred in this judicial

 7   district, and/or the infringement occurred in this judicial district.

 8                                      INTRADISTRICT ASSIGNMENT

 9           8.      Pursuant to Civil Local Rule 3-2(c) this is an intellectual property matter which is

10   to be assigned on a district-wide basis.

11                            ALLEGATIONS COMMON TO ALL CLAIMS

12                          Plaintiffs and Their Well-Known LA CREMA® Mark

13           9.      JFW is a leading producer of highly acclaimed, premium wine varietals marketed

14   and sold under the trademark LA CREMA®. Plaintiffs have dedicated substantial efforts and

15   resources to developing and producing their renowned LA CREMA® wines featuring the

16   Burgundian varietals Chardonnay and Pinot Noir as well as Pinot Gris, Pinot Noir Rosé,

17   Sauvignon Blanc and Sparkling Brut Rosé. LA CREMA® wines are crafted to reflect the

18   distinct character of six of the finest California appellations—Russian River Valley, Los

19   Carneros, Anderson Valley, Sonoma Coast, Monterey, and Arroyo Seco—and also one of the

20   finest Oregon appellations: Willamette Valley. As a result of their efforts and acclaimed wine

21   making, Plaintiffs’ wines are widely considered by consumers and industry experts to be among

22   the finest in the United States.

23           10.     LA CREMA® wines are distributed nationwide. From fiscal year 2016 to fiscal

24   year 2020, JFW sold over eighty million (80,000,000) bottles of LA CREMA® wine. In fiscal

25   year 2020, alone, JFW sold over fifteen million (15,000,000) bottles of LA CREMA® wine. In

26   2020, Plaintiffs’ LA CREMA® brand was recognized as the number 16 “Blue Chip” Brand in

27   the U.S. by Impact, the number one source of data, trends and analysis in the drinks industry. To

28   earn “Blue Chip” honors, brands must show at least 10 consecutive years of volume growth, or

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 1   average annual compound growth of at least 0.5% from 2009 through 2019 with positive growth

 2   in at least eight of those 10 years. In addition, the brands must have maintained gross margins of

 3   at least $25 million in 2019.

 4          11.     Since as early as October of 1987, the inherently distinctive trademark LA

 5   CREMA® has been used by Plaintiffs and their predecessor in interest to market and sell wines

 6   throughout the United States.

 7          12.     Plaintiffs have devoted substantial time, effort, and resources to the development

 8   and extensive promotion of the LA CREMA® trademark and the wines offered in connection

 9   with that brand. Plaintiffs have invested many millions of dollars on marketing and advertising

10   the LA CREMA® brand. As a result of Plaintiffs’ efforts and the superior quality of the wines

11   offered under the LA CREMA® trademark, the public has come to recognize and rely upon the

12   LA CREMA® trademark as an indication of high quality wines and the LA CREMA®

13   trademark enjoys substantial goodwill in the marketplace and is a valuable asset of Plaintiffs.

14          13.     LC TM is the owner of the trademark LA CREMA® for wines as well as the

15   owner of incontestable U.S. Trademark Registration No. 2,393,573 for LA CREMA® for wines

16   in International 33, issued on October 10, 2000 with constructive rights dating back to November

17   12, 1999 (the “LA CREMA® Registration”). As indicated in the LA CREMA® Registration,

18   the term LA CREMA translates into English as THE CREAM.               Plaintiffs have used the LA

19   CREMA® mark on and in association with wine since as early as October 1987, long prior to the

20   acts of Defendant complained of herein.

21          14.     The LA CREMA® Registration is incontestable and in full force and effect on the

22   United States Patent and Trademark Office’s (“USPTO”) Principal Register and gives rise to

23   presumptions in favor of LC TM with respect to validity, ownership, and exclusive rights to use

24   the LA CREMA® mark throughout the United States.

25          15.     LA CREMA® wines are enormously popular and have received numerous

26   accolades and awards over the years.

27          16.     The LA CREMA® brand has ranked among the top fifteen best-selling wines by

28   the bottle in the U.S. for the last five years. In 2020, Plaintiffs’ LA CREMA® Chardonnay

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 1   ranked as the second best-selling Chardonnay by the bottle in the U.S and the thirteenth best-

 2   selling wine overall. That same year, Plaintiffs’ LA CREMA® Pinot Noir ranked as the third

 3   best-selling Pinot Noir by the bottle in the U.S. and the fifteenth best-selling wine overall.

 4           17.     Since 2002, dollar sales of LA CREMA® Chardonnay have annually outsold all

 5   other Chardonnays priced over $11 and dollar sales of LA CREMA® Pinot Noir have

 6   consistently been one of the top selling Pinot Noirs priced over $11 in the U.S. LA CREMA®

 7   Chardonnay is the #1 selling Chardonnay priced above $11 and LA CREMA® Pinot Noir is the

 8   #2 selling Pinot Noir priced above $11 in the U.S. based on dollar volume.

 9           18.     According to the Wine & Spirits Magazine Annual Restaurant Poll, LA

10   CREMA® has been voted as one of the top 50 most popular wines in America’s top restaurants

11   from 2007-2018. In the 2018 poll, the LA CREMA® Monterey Pinot Noir tied for Second Place

12   for wines by the glass.

13           19.     Plaintiffs’ LA CREMA® wines also received widespread attention from third

14   party wine critics and media. Since 2015, LA CREMA® wines have received over two hundred

15   and fifty scores of 90 points or above from leading wine publications. In 2020 alone, LA

16   CREMA® wines were awarded over fifteen scores of 90 points or above by Wine Enthusiast

17   magazine and Robert Parker’s Wine Advocate.

18           20.     As a result of Plaintiffs’ widespread use of the LA CREMA® mark in the United

19   States, extensive advertising and promotion of the wines sold in connection with the LA

20   CREMA® trademark, and the brand’s continuous and unsolicited media coverage, the LA

21   CREMA® trademark enjoys a high degree of consumer recognition and has become a famous

22   mark.

23                 Defendant’s Historical Use of the CASK & CREAM Mark for Liqueur

24           21.     Upon information and belief, Defendant first used the mark CASK & CREAM in

25   connection with liqueur in August 1996.

26           22.     Defendant owns U.S. Trademark Registration No. 2,881,734 for the mark CASK

27   & CREAM for brandy in International Class 33 which was filed on September 10, 2003 and

28   issued on September 7, 2004. In such registration, Defendant alleges its first use of the CASK &

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 1   CREAM mark in commerce for brandy occurred on August 1, 1996.

 2          23.        On or about January 16, 2013, Defendant filed U.S. Trademark Application Serial

 3   No. 85/825,124 for the mark CASK & CREAM for “alcoholic beverages except beers.”

 4   Plaintiffs objected to the description of the goods recited in such application, i.e. “alcoholic

 5   beverages except beers,” because it encompassed wine. In response, Defendant informed

 6   Plaintiffs “that the CASK & CREAM mark will not be used on wine, but rather distilled spirits

 7   which include cream liquor.” To address Plaintiffs’ concerns, Defendant “agreed to amend the

 8   description of goods for the CASK & CREAM application from ‘alcoholic beverages except

 9   beers’ to ‘distilled spirits.’” Such written agreement was executed by Defendant on or about

10   October 3, 2013 (the “CASK & CREAM Agreement”).

11          24.        On or about October 25, 2013, Defendant filed a request with the USPTO to

12   amend the description of the goods in U.S. Trademark Application Serial No. 85/825,124 from

13   “alcoholic beverages except beers” to “distilled spirits.” Such amendment was completed by the

14   USPTO on October 29, 2013 and Registration No. 4,450,260 for “distilled spirits” in

15   International Class 33 was issued to Defendant on December 17, 2013.

16          25.        Defendant also owns U.S. Trademark Registration No. 6,086,056 for alcoholic

17   beverages except beers in International Class 33 which was filed on June 29, 2017 and issued on

18   June 23, 2020. Defendant’s Trademark Registration Nos. 2,881,734; 4,450,260; and 6,086,056

19   are hereinafter collectively referred to as “Defendant’s CASK & CREAM Liqueur

20   Registrations.”

21          26.        Upon information and belief, Defendant has stopped using its CASK & CREAM

22   mark in connection with the production and sale of liqueur with the intent to start use of the

23   CASK & CREAM mark on wine instead.

24        Defendant’s Bad Faith Adoption of the Infringing CASK & CREAM Mark for Wine

25          27.        Notwithstanding its agreement with Plaintiffs to not use the CASK & CREAM

26   mark on wine, and despite understanding Plaintiffs’ strong rights in the LA CREMA® brand,

27   upon information and belief, Defendant has used the CASK & CREAM mark for wine in

28   commerce or such use is imminent as explained in greater detail below.

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 1            28.    On March 15, 2019, Defendant filed U.S. Trademark Application Serial No.

 2   88/341,661 for the mark CASK & CREAM for “wines” in International Class 33 (the “CASK &

 3   CREAM Wine Application”). The CASK & CREAM Wine Application was filed based upon

 4   Defendant’s alleged intent to use the mark for wine in commerce and published for opposition by

 5   the USPTO on March 10, 2020.

 6            29.    On or about April 9, 2020, Plaintiffs filed, and the Trademark Trial and Appeal

 7   Board (“TTAB”) granted, a request for an extension of time to oppose the CASK & CREAM

 8   Wine Application.

 9            30.    On or about April 10, 2020, Plaintiffs forwarded the CASK & CREAM

10   Agreement to Defendant and inquired whether Defendant had plans to use the CASK & CREAM

11   mark on wine. On or about June 24, 2020, Defendant confirmed that it had plans to develop the

12   CASK & CREAM mark for use on wine.

13            31.    On July 8, 2020, LC TM filed a Notice of Opposition with the TTAB opposing

14   the CASK & CREAM Wine Application, and the opposition proceeding was assigned

15   Opposition No. 91263511 (the “TTAB Opposition Proceeding”).

16            32.    On March 3, 2021, in response to discovery requests served by Plaintiffs on

17   Defendant in the TTAB Opposition Proceeding, Defendant provided copies to Plaintiffs of three

18   Certificates of Label Approval (“COLAs”) that Defendant obtained from the U.S. Alcohol and

19   Tobacco Tax and Trade Bureau (“TTB”) for wine labels featuring the brand name CASK &

20   CREAM          (COLA     TTB      ID    Nos.     21040001000987,      21040001001031       and

21   21040001001043). Such labels as reflected in the COLAs are shown below:

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///

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 1                        COLA TTB ID No. 21040001000987

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14                        COLA TTB ID No. 21040001001031

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 1                                 COLA TTB ID No. 21040001001043

 2

 3

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 7

 8           33.      The issuance of a COLA by the TTB is a legal prerequisite for the release of a
 9   wine into U.S. commerce. The issuance of a COLA by TTB does not reflect any approval of use
10   of a brand on a label as a trademark, but rather indicates that the label complies with
11   requirements for use of the label under the Federal Alcohol Administration Act by indicating
12   things such as alcohol by volume content and the Surgeon General’s Warning.
13
             34.      The COLAs issued to Defendant indicate that the wine featuring the CASK &
14
     CREAM mark is being labeled in St. Helena, California, in the County of Napa, within this
15
     judicial district.
16
             35.      Upon information and belief, the wine featuring the CASK & CREAM mark has
17
     been produced and bottled by Defendant in this judicial district and Defendant has plans to begin
18
     selling and shipping the CASK & CREAM wine imminently.
19

20           36.      Plaintiffs attempted to resolve this dispute with Defendant before filing this

21   lawsuit, but Defendant disputed Plaintiffs’ claims and advised Plaintiffs that Defendant did not

22   wish to discuss potentially resolving the dispute.

23                                          Further Allegations

24           37.      The CASK & CREAM mark is confusingly similar to Plaintiffs’ LA CREMA®

25   mark, given that the marks are similar in sight, sound and meaning and are used on the identical

26   goods, namely California wine. In two presentations of the mark on Defendant’s labels,

27   Defendant also emphasizes the word CREAM by using a brighter color or more distinctive font

28   than is used for the word CASK, thereby demonstrating Defendant’s intent to capitalize on

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 1   Plaintiffs’ trademark.

 2          38.     Defendant’s use of the CASK & CREAM mark is likely to confuse consumers

 3   into believing that Defendant’s CASK & CREAM wine is affiliated with, associated with,

 4   connected to, or sponsored by Plaintiffs and their well-known LA CREMA® wine, and

 5   Defendant will unjustly benefit from such association.

 6          39.     Defendant’s infringing use of the CASK & CREAM mark will unjustly increase

 7   the profitability of Defendant’s CASK & CREAM wine to the detriment of Plaintiffs and at no

 8   cost to Defendant.

 9          40.     Plaintiffs will be further harmed as consumers will purchase the CASK &

10   CREAM wine believing it to be affiliated with, associated with, connected to, or sponsored by

11   Plaintiffs, and thereby forego purchase of Plaintiffs’ wine under the LA CREMA® mark,

12   resulting in loss of sales to Plaintiffs from Defendant’s unfair competition.

13          41.     Defendant’s infringing use of the confusingly similar CASK & CREAM mark

14   will financially harm Plaintiffs by diminishing the value of Plaintiffs’ LA CREMA® mark.

15          42.     Defendant’s use of the CASK & CREAM mark will endanger the ability of

16   Plaintiffs’ LA CREMA® mark to serve as a unique and distinctive source indicator for Plaintiffs

17   and/or Plaintiffs’ goods.

18          43.     Unless restrained by this Court, Defendant will unfairly compete with Plaintiffs

19   by using the CASK & CREAM mark, and Plaintiffs are without adequate remedy at law.

20          44.     This case is an exceptional case entitling Plaintiffs to treble damages and

21   attorneys’ fees, and Defendant’s conduct further entitles Plaintiffs to punitive damages.

22          45.     Despite Plaintiffs’ attempts to resolve this dispute amicably, Defendant has

23   persisted in using the infringing CASK & CREAM mark, leaving Plaintiffs no choice but to file

24   this Complaint.

25                                     FIRST CAUSE OF ACTION

26                        (Federal Trademark Infringement under 15 U.S.C. §1114)

27          46.     Defendant’s actions as described above and Defendant’s use of the CASK &

28   CREAM mark in commerce constitute trademark infringement in violation of Section 32 of the

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 1   Lanham Act, 15 U.S.C. §1114.

 2           47.     Defendant’s adoption and use of a mark so similar to Plaintiffs’ LA CREMA®

 3   mark will cause irreparable injury to the value and goodwill of the LA CREMA® mark, as well

 4   as to Plaintiffs’ business, goodwill, and reputation. Defendant’s actions, if not enjoined, will

 5   continue. Plaintiffs have no adequate remedy at law in that the amount of its damages is difficult

 6   to ascertain with certainty.

 7           48.     As a result of Defendant’s infringement, Plaintiff has incurred damages in an

 8   amount to be proven at trial.

 9           49.     Defendant’s actions as described above are deliberate, willful, fraudulent and

10   without any extenuating circumstances, and constitute a knowing violation of Plaintiffs’ rights.

11   Plaintiffs are therefore entitled to recover three times the amount of their actual damages, and

12   attorneys’ fees and costs incurred in this action, as this is an “exceptional” case under Section 35

13   of the Lanham Act, 15 U.S.C. §1117.

14                                     SECOND CAUSE OF ACTION

15         (Federal Unfair Competition and False Designation of Origin under 15 U.S.C. §1125)

16           50.     Defendant’s actions as described above and Defendant’s use of the CASK &

17   CREAM mark in commerce constitute unfair competition and false designation of origin in

18   violation of Section 43 of the Lanham Act, 15 U.S.C. §1125.

19           51.     Defendant’s adoption and use of a mark so similar to Plaintiffs’ LA CREMA®

20   mark will cause irreparable injury to the value and goodwill of the LA CREMA® mark, as well

21   as to Plaintiffs’ business, goodwill, and reputation. Defendant’s actions, if not enjoined, will

22   continue. Plaintiffs’ have no adequate remedy at law in that the amount of their damages is

23   difficult to ascertain with certainty.

24           52.     As a result of Defendant’s infringement, Plaintiffs have incurred damages in an

25   amount to be proven at trial.

26           53.     Defendant’s actions as described above are deliberate, willful, fraudulent and

27   without any extenuating circumstances, and constitute a knowing violation of Plaintiffs’ rights.

28   Plaintiffs are therefore entitled to recover three times the amount of its actual damages, and

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 1   attorneys’ fees and costs incurred in this action, as this is an “exceptional” case under Section 35

 2   of the Lanham Act, 15 U.S.C. §1117.

 3                                    THIRD CAUSE OF ACTION

 4                      (Trademark Dilution under Cal. Bus. & Prof. Code §14247)

 5          54.     The LA CREMA® trademark is distinctive and famous within the meaning of

 6   Cal. Bus. & Prof. Code §14247.

 7          55.     Defendant’s use of the CASK & CREAM trademark on wine began after the LA

 8   CREMA® trademark became famous.

 9          56.     Defendant’s continued use of the CASK & CREAM trademark is likely to cause

10   injury to Plaintiffs’ business and reputation and the dilution of the distinctive quality of

11   Plaintiffs’ famous LA CREMA® trademark in violation of Cal. Bus. & Prof. Code § 14247.

12          57.     Plaintiffs have been, and will continue to be, damaged and irreparably harmed by

13   the actions of the Defendant, which will continue unless Defendant is enjoined by this Court.

14          58.     Plaintiffs have no adequate remedy at law in that the amount of damage to

15   Plaintiffs’ business and reputation and the diminution of the goodwill of the LA CREMA®

16   trademark is difficult to ascertain with specificity. Plaintiffs are therefore entitled to injunctive

17   relief pursuant to Cal. Bus. & Prof. Code § 14247.

18          59.     The actions of Defendant described herein were and continue to be deliberate and

19   willful. Plaintiffs are therefore entitled to recover damages in an amount to be determined at

20   trial, profits made by Defendant on the sales of its wine products, and the costs of this action

21   pursuant to Cal. Bus. & Prof. Code §§ 14247 and 14250.

22                                   FOURTH CAUSE OF ACTION

23                   (State Unfair Competition under Cal. Bus. & Prof. Code §17200)

24          60.     Defendant’s actions described above related to use of the CASK & CREAM mark

25   in commerce constitute unlawful, unfair or fraudulent business acts or practices in violation of

26   Cal. Bus. & Prof. Code §17200.

27   ///

28   ///

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 1                                   FIFTH CAUSE OF ACTION

 2                               (Common Law Trademark Infringement)

 3          61.     The Defendant’s above-averred actions constitute trademark infringement and

 4   passing off in violation of the common law of California.

 5                                   SIXTH CAUSE OF ACTION

 6                                 (Common Law Unfair Competition)

 7          62.     The Defendant’s above-averred actions constitute a false designation of origin in

 8   violation of the common law of California.

 9                                  SEVENTH CAUSE OF ACTION

10                     (Cancellation of U.S. Trademark Registration No. 2,881,734

11                                 under 15 U.S.C. §§ 1064, 1119, 1127)

12          63.     Plaintiffs are likely to be damaged by continued registration of Defendant’s

13   CASK & CREAM mark as reflected in U.S. Trademark Registration No. 2,881,734 because it is

14   similar to Plaintiffs’ LA CREMA® mark and Defendant’s CASK & CREAM mark set forth in

15   U.S. Trademark Registration No. 2,881,734 is used on related and/or identical goods.

16          64.     Upon information and belief, Defendant has ceased using the CASK & CREAM

17   mark reflected in U.S. Trademark Registration No. 2,881,734 for brandy and has no intent to

18   resume use in U.S. commerce of the mark CASK & CREAM on or in connection with brandy.

19          65.     Upon information and belief, due inter alia to Defendant’s lack of use of the

20   mark CASK & CREAM in connection with brandy in U.S. commerce, the mark has lost all

21   significance as an identifier of source and/or indicator of origin for brandy among consumers.

22          66.     Accordingly, Defendant’s CASK & CREAM mark should be declared

23   abandoned pursuant to the Lanham Act § 45, 15 U.S.C. § 1127 and U.S. Trademark

24   Registration No. 2,881,734 should be cancelled in accordance with Lanham Act §14, 15 U.S.C.

25   § 1064(3).

26          67.     Continued registration of the mark shown in U.S. Trademark Registration No.

27   2,881,734 will result in damage to Plaintiffs pursuant to the allegations set forth above, and will

28   create a cloud on the lawful right of Plaintiffs to use the mark LA CREMA® for wines.

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 1           68.      Therefore, this Court should order cancellation of U.S. Trademark Registration

 2   No. 2,881,734 pursuant to Lanham Act §14, 15 U.S.C 1119.

 3                                    EIGHTH CAUSE OF ACTION

 4                        (Cancellation of U.S. Trademark Registration No. 4,450,260

 5                                  under 15 U.S.C. §§ 1051, 1064, 1119)

 6           69.      Plaintiffs are likely to be damaged by continued registration of Defendant’s

 7   CASK & CREAM mark as reflected in U.S. Trademark Registration No. 4,450,260 because it is

 8   similar to Plaintiffs’ LA CREMA® mark and Defendant’s CASK & CREAM mark set forth in

 9   U.S. Trademark Registration No. 4,450,260 is used on related and/or identical goods.

10           70.      Upon information and belief, Defendant has ceased using the CASK & CREAM

11   mark reflected in U.S. Trademark Registration No. 4,450,260 for distilled spirits and has no

12   intent to resume use in U.S. commerce of the mark CASK & CREAM on or in connection with

13   distilled spirits.

14           71.      Upon information and belief, due inter alia to Defendant’s lack of use of the

15   mark CASK & CREAM in connection with distilled spirits in U.S. commerce, the mark has lost

16   all significance as an identifier of source and/or indicator of origin for distilled spirits among

17   consumers.

18           72.      Accordingly, Defendant’s CASK & CREAM mark should be declared

19   abandoned pursuant to the Lanham Act § 45, 15 U.S.C. § 1127 and U.S. Trademark

20   Registration No. 4,450,260 should be cancelled in accordance with Lanham Act §14, 15 U.S.C.

21   § 1064(3).

22           73.      Upon information and belief, U.S. Trademark Registration No. 4,450,260 is void

23   ab initio as the CASK & CREAM mark was not legally used in commerce by Defendant in

24   association with distilled spirits when Defendant filed the Declaration of Use under Section 8 for

25   Reg. No. 4,450,260 on April 10, 2019. As such. U.S. Trademark Registration No. 4,450,260

26   should be cancelled in accordance with Lanham Act § 1, 15 U.S.C. § 1051(a).

27           74.      Upon information and belief, Defendant knowingly submitted specimens of use

28   of the CASK & CREAM mark in U.S. commerce that were false and did not represent legal use

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 1   in commerce of the mark by Defendant with the intent to deceive the USPTO, and the knowing

 2   submission of such false specimens in connection with U.S. Trademark Registration No.

 3   4,450,260 along with Defendant’s statement that the mark was currently in use in U.S.

 4   Commerce by Defendant was a material misrepresentation to USPTO. Accordingly, U.S.

 5   Trademark Registration No. 4,450,260 should be cancelled on the basis of fraud.

 6          75.     Continued registration of the mark shown in U.S. Trademark Registration No.

 7   4,450,260 will result in damage to Plaintiffs pursuant to the allegations set forth above, and will

 8   create a cloud on the lawful right of Plaintiffs to use the mark LA CREMA® for wines.

 9          76.     Therefore, this Court should order cancellation of U.S. Trademark Registration

10   No. 4,450,260 pursuant to Lanham Act §14, 15 U.S.C 1119.

11                                    NINTH CAUSE OF ACTION

12                      (Cancellation of U.S. Trademark Registration No. 6,086,056

13                              under 15 U.S.C. §§ 1051, 1052, 1064, 1119)

14          77.     Plaintiffs are likely to be damaged by continued registration of U.S. Trademark

15   Registration No. 6,086,056 because there is a likelihood of confusion between Plaintiffs’ LA

16   CREMA® mark and Defendant’s CASK & CREAM mark set forth in U.S. Trademark

17   Registration No. 6,086,056 due to the high degree of similarity between the marks and the use of

18   the marks on related and/or identical goods.

19          78.     Plaintiffs’ actual and constructive dates of first use for the LA CREMA® mark

20   both precede Defendant’s actual and constructive first use for the mark shown in U.S. Trademark

21   Registration No. 6,086,056.

22          79.     Defendant’s mark as reflected in U.S. Trademark Registration No. 6,086,056.is

23   likely to cause confusion, mistake or to deceive the public as it is extremely similar to Plaintiffs’

24   LA CREMA® Mark and is allegedly used for alcoholic beverages except beers which are related

25   to, and legally identical to, wine. Thus, there is a likelihood that a consumer would confuse

26   Defendant’s mark shown in U.S. Trademark Registration No. 6,086,056 with Plaintiffs’ LA

27   CREMA® mark or believe that there is an association between the parties or their goods.

28          80.     Accordingly, Defendant’s mark shown in U.S. Trademark Registration No.

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 1   6,086,056 is confusingly similar to Plaintiffs’ LA CREMA® mark, such that Defendant is not

 2   entitled to the continued registration of the CASK & CREAM mark in accordance with Lanham

 3   Act § 2, 15 U.S.C. §1052(d).

 4          81.     Upon information and belief, Defendant’s U.S. Trademark Registration No.

 5   6,086,056 is void ab initio as the CASK & CREAM mark was not legally used in commerce by

 6   Defendant in association with the goods identified in U.S. Trademark Registration No. 6,086,056

 7   when Defendant filed the Statement of Use on April 15, 2020 for Reg. No. 6,086,056. As such.

 8   Defendant’s U.S. Trademark Registration No. 6,086,056 should be cancelled in accordance with

 9   Lanham Act § 1, 15 U.S.C. § 1051(a).

10          82.     Upon information and belief, Defendant knowingly submitted specimens of use

11   of the CASK & CREAM mark in U.S. commerce that were false and did not represent legal use

12   in commerce of the mark by Defendant with the intent to deceive the USPTO, and the knowing

13   submission of such false specimens in connection with U.S. Trademark Registration No.

14   6,086,056 along with Defendant’s statement that the mark was currently in use in U.S.

15   Commerce by Defendant was a material misrepresentation to USPTO. Accordingly, U.S.

16   Trademark Registration No. 6,086,056 should be cancelled on the basis of fraud.

17          83.     Continued registration of the mark shown in U.S. Trademark Registration No.

18   6,086,056 will result in damage to Plaintiffs pursuant to the allegations set forth above, and will

19   create a cloud on the lawful right of Plaintiffs to use the mark LA CREMA® for wines.

20          84.     Therefore, this Court should order cancellation of U.S. Trademark Registration

21   No. 6,086,056 pursuant to Lanham Act §14, 15 U.S.C 1119.

22                                       PRAYER FOR RELIEF

23          WHEREFORE, Plaintiffs request the following relief:

24          1.      That Defendant and its principals, partners, franchisees, agents, employees,

25   licensees, affiliates, distributors, producers, any parent and subsidiary companies, attorneys and

26   representatives and all of those in privity with or acting under its direction and/or pursuant to its

27   control, be preliminarily and permanently enjoined and restrained, from directly or indirectly:

28                  a.      Using the term CASK & CREAM, or any term or mark confusingly

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 1          similar to the LA CREMA® mark including but not limited to any mark encompassing

 2          the terms CREMA or CREAM, in connection with the advertisement, promotion,

 3          distribution, offering for sale or selling of alcoholic beverages, or products or services

 4          related to alcoholic beverages;

 5                  b.      Performing any acts or using any trademarks, names, words, images or

 6          phrases that are likely to cause confusion, to cause mistake, to deceive or otherwise

 7          mislead the trade or public into believing that Plaintiffs and Defendant are one in the

 8          same or are in some way connected or that Plaintiffs are a sponsor of Defendant or that

 9          the goods of Defendant originate with Plaintiffs or are likely to lead the trade or public to

10          associate Defendant with Plaintiffs;

11          2.      That Defendant be required to file with the Court, and serve on Plaintiffs, a

12   statement under oath evidencing compliance with any preliminary or permanent injunctive relief

13   ordered by the Court within fourteen (14) days after the entry of such order of injunctive relief;

14          3.      That Defendant and its principals, partners, franchisees, agents, employees,

15   licensees, affiliates, distributors, producers, any parent and subsidiary companies, attorneys and

16   representatives and all of those in privity with or acting under its direction and/or pursuant to its

17   control, be required to deliver up for destruction all advertising, promotional materials, point of

18   sale materials, labels, caps, corks, neckers, packaging, and any other materials bearing the

19   infringing mark together with all artwork, plates, molds, matrices and other means and materials

20   for making and reproducing the same;

21          4.      That Defendant be ordered to recall infringing CASK & CREAM wine in

22   distribution in the marketplace;

23          5.      That Defendant be adjudged to have violated 15 U.S.C. § 1114 by infringing

24   Plaintiffs’ LA CREMA® trademark;

25          6.      That Defendant be adjudged to have violated 15 U.S.C. § 1125(a) for unfairly

26   competing against Plaintiffs by using a false designation of origin for Defendant’s wine;

27          7.      That Defendant be adjudged to have unlawfully and unfairly competed against

28   Plaintiffs under the laws of the State of California, Cal. Bus. & Prof. Code § 17200, et seq.;

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 1           8.      That Defendant be adjudged to have caused dilution of the LA CREMA®

 2   trademark under the laws of the State of California, Cal. Bus. & Prof. Code § 14247;

 3           9.      That Plaintiffs be awarded Defendant’s profits derived by reason of said acts, or

 4   as determined by an accounting;

 5           10.     That Plaintiffs be awarded three times Defendant’s profits and three times of all

 6   Plaintiffs’ damages, suffered as a result of Defendant’s willful, intentional, and deliberate acts in

 7   violation of the Lanham Act, as well as Plaintiffs’ costs, attorneys’ fees, and expenses in this suit

 8   under 15 U.S.C. § 1117;

 9           11.     That Plaintiff be awarded damages in an amount sufficient to compensate it for

10   the damage caused by Defendant’s unfair competition under Cal. Bus. & Prof. Code § § 17200 et

11   seq.;

12           12.     That Plaintiffs be awarded three times Defendant’s profits and three times

13   Plaintiffs’ damages suffered as a result of the willful, intentional, and deliberate acts in violation

14   of Cal. Bus. & Prof. Code §§ 14247 and 14250;

15           13.     That the USPTO Commissioner of Trademarks be directed to cancel Defendant’s

16   CASK & CREAM Liqueur Registrations, namely trademark registration No. 2,881,734 issued

17   September 7, 2004 for “brandy,” trademark registration No. 4,450.260 issued December 17,

18   2013 for “distilled spirits,” and trademark registration No. 6,086,056 issued June 23, 2020 for

19   “alcoholic beverages except beers.”

20           14.     That Defendant be ordered to pay Plaintiffs monetary damages for the harm

21   resulting from infringement of Plaintiffs’ mark, in an amount to be determined at trial;

22           15.     That Plaintiffs’ damages be trebled and that Defendant be ordered to pay

23   Plaintiffs’ attorneys’ fees on the basis that this is an exceptional case;

24           16.     That Plaintiffs be awarded punitive damages as a result of Defendant’s conduct;

25           17.     That Plaintiffs be granted prejudgment and post judgment interest;

26           18.     That Plaintiffs be granted costs associated with the prosecution of this action; and

27           19.     That Plaintiffs have such other and further relief as this Court shall deem just and

28   proper on the merits.

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 1   Dated: March 31, 2021

 2                                     Respectfully submitted,
 3                                     DICKENSON, PEATMAN & FOGARTY
 4
                                       By
 5
                                       Joy L. Durand
 6
                                       1455 First Street, Suite 301
 7                                     Napa, California 94559
                                       Telephone: 707-252-7122
 8                                     Facsimile: 707-255-6876
 9                                     Attorneys for Plaintiffs,
                                       JACKSON FAMILY WINES, INC.
10                                     and LC TM HOLDING, LLC
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 1                                   DEMAND FOR JURY TRIAL

 2           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs hereby request a

 3   trial by jury in this matter.

 4

 5   Dated: March 31, 2021

 6                                               Respectfully submitted,
 7                                               DICKENSON, PEATMAN & FOGARTY
 8
                                                 By
 9
                                                 Joy L. Durand
10
                                                 1455 First Street, Suite 301
11                                               Napa, California 94559
                                                 Telephone: 707-252-7122
12                                               Facsimile: 707-255-6876
13                                               Attorneys for Plaintiffs,
                                                 JACKSON FAMILY WINES, INC.
14                                               and LC TM HOLDING, LLC
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